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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

CHALMERS BROWN,

Plaintiff,
vs. No. O4-2777-Ml/P
J. PONTE, et al.,

Defendants.

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ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL AS MOOT
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff, Chalmers Brown, an inmate at the Shelby County
Correctional Complex (“Jail”),1 has filed a complaint under 42
U.S.C. § 1983, along with a motion for appointment of counsel. The
Clerk of Court shall file the case and record the Defendants as J.
Ponte, Chief Moore, and Mark Luttrell.

l. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (PLRA), 28
U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of $150 required by 28 U.S.C. § l9l4(a). Tne

in forma pauperis statute,r 28 U.S.C. § l915(a) merely provides the

 

l The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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with Ru\s 58 and{or 79{3) FRCP on 52 [Q _OQ 5

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prisoner the opportunity to make a "downpayment" of a partial
filing fee and pay the remainder in installments.

In this case, Plaintiff has properly completed and filed both
an ip fp;ma pauperis affidavit and a trust fund account statement.
lt is ORDERED that the trust fund officer at Plaintiff's prison
shall calculate a partial initial filing fee equal to twenty
percent of the greater of the average balance in or deposits to the
Plaintiff‘s trust fund account for the six nmnths immediately
preceding the completion of the affidavit. When the account
contains any funds, the trust fund officer shall collect them and
pay them directly to the Clerk of Court. If the funds in
Plaintiff's account are insufficient to pay the full amount of the
initial partial filing fee, the prison official is instructed to
withdraw all of the funds in the Plaintiff's account and forward
them to the Clerk of Court. On each occasion that funds are
subsequently credited to Plaintiff's account the prison official
shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in
full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
Plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
Plaintiff's account during the preceding month, but only when the
amount in the account exceeds $l0.00, until the entire $l§0.00

filing fee is paid.

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Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 16? N. Main, Room 242, Memphis, TN 38103

and shall clearly identify Plaintiff's name and the case number on
the first page of this order.

If Plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. lf still confined, he shall provide the officials at the
new prison with a copy of this order.

lf the Plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison

official in charge of prison trust fund accounts at Plaintiff's

prison. The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
1915(e)(2). The Clerk shall not issue process or serve any papers

in this case.

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ll. Analvsis of Plaintiff’s Claims

Plaintiff sues Jail Director J. Ponte, Chief Moore, and Shelby
County Sheriff Mark Luttrell. Plaintiff alleges that he was
removed from the general jail population on May 13, 2004, and
placed in administrative segregation for thirty-seven days with no
explanation. He alleges that he was not allowed to return to the
same pod and “all [his} rights were not reinstated as claimed.”
Plaintiff alleges that he was deprived of due process by the manner
in which he was placed in segregation without a timely
investigation or explanation. He further alleges that he suffered
emotional and mental injury from being placed in a cell with waste
water leaking from the walls and around the toilet.

Plaintiff alleges that he has written letters and filed
grievances. He attached a copy of grievance No. 60069 regarding
wastewater in his cell, dated June 7, 2004, and the response of the
grievance department, dated July 31, 2004, that the information was
forwarded to the maintenance department. Plaintiff alleges in the
complaint that he was relocated to another pod on June 18, 2004,
prior to receiving this response to grievance 60069, and he does
not allege that he appealed the response.

Plaintiff also attached copies of grievance nos. 88903 and
88910, which were filed on May 16, 2004, and No. 94629, which was
filed on May 14, 2004, which contain his complaint that he was
placed on segregation for no reason. The grievance committee
responded on May 24, 2004, that No. 88910 was repetitive and No.

94629 nongrievable. Plaintiff has not attached a copy of any

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response for grievance No. 88903. He does not allege that he
appealed the responses.

Plaintiff has attached a copy of a memorandum from Security
Operations Sergeant Bratcher, dated June 15, 2004, regarding his
request to go back to general population which states that
Plaintiff's “case is under investigation and is being referred” to
the Administrative Segregation Coordinator for a response. He
attached a second memorandum from Bratcher, dated June 18, 2004,
which states that Plaintiff was relocated to general population
with all privileges reinstated on June 1, 2004. Brown does not
attach a copy of any grievance or appeal alleging that all
privileges were not restored as stated in Bratcher's memorandum.

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires
a federal court to dismiss without prejudice whenever a prisoner
brings a prison conditions claim without demonstrating that he has
exhausted his administrative remedies. Brown v. Toombs, 139 F.3d
1102 (6th Cir. 1998). The Court reaffirmed that this requirement
applies even to claims seeking monetary damages. Wyatt v. Leonard,
193 F.3d 876, 878 (6th Cir. 1999).

This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of
claims. Knuckles El v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000).
In order to comply with the mandates of 42 U.S.C. § l997e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the
complaint or, in the absence of written documentation,

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describe with specificity the administrative proceeding
and its outcome.

ld; at 642; see also Curry v. Scott, 249 F.3d at 503-04 (finding no
abuse of discretion where district court dismissed case for failure
to exhaust when Plaintiffs did not submit documents showing
complete exhaustion of their claims or otherwise demonstrate
exhaustion).

Arguably, Plaintiff’s allegations and attachments to his
complaint are insufficient to demonstrate that he has fully
exhausted his administrative remedies on all issues raised in this
complaint. Despite this failing, however, 28 U.S.C. § 1997e(c)(2)
provides that a court may, despite a lack of exhaustion, dismiss a
frivolous claim:

In the event that a claim is, on its face, frivolous,

malicious, fails to state a claim upon which relief can

be granted, or seeks monetary relief from a defendant who

is immune from such relief, the court may dismiss the

underlying claim without first requiring the exhaustion

of administrative remedies.

42 U.S.C. § 1997e(c)(2). This Court, therefore, analyzes prisoner
complaints for frivolity regardless of exhaustion of grievance
procedures.

An inmate does not have a liberty interest in assignment to a
particular cell or security classification within an institution.
See generally Sandin v. Conner, 515 U.S. 472, 484-87 (1995); Qlim
v. Wakinekona, 461 U.S. 238, 245 (1983); Meachum v. Fano, 427 U.S.
215, 224-25 (1976); Montanve v. Haymes, 427 U.S. 236, 243 (1976);
Moody v. Daggett, 429 U.S. 78, 88, n.9 (1976); Newell v. Brown, 981

F.2d 880, 883 (6th Cir. 1992); Beard v. Livesay, 798 F.2d 874, 876

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(6th Cir. 1986). Furthermore, the Supreme Court has repeatedly
observed that prisons present an "ever-present potential for
violent confrontation£' Whitlev v. Albers, 475 U.S. 312, 321
(1986) (quoting Jones v. No. Car. Prisoner's Labor Unionr lnc., 433
U.S. 119, 132 (1977)). See also Wolff v. McDonnell, 418 U.S. 539,
561-62 (1974)(prisons are populated by violent offenders, causing
unremitting tension among inmates and between inmates and guards).
Consequently, the Court has concluded that security is the
overriding penological interest at stake in any jail or prison.
"[T]he core functions of prison administration [are] maintaining
safety and internal security." Turner v. Safley, 482 U.S. 78, 92
(1987). See also Thornburgh v. Abbott, 490 U.S. 401, 415
(1989)(protecting prison security is central to all other
correctional goals); Meadows v. Hopkins, 713 F.2d 206, 209-10 (6th
Cir. 1983). Furthermore, the requirement that prison officials
maintain security is simply the means by which they protect the
Eighth Amendment personal safety rights of inmates. §ep_gpp§;ally
Farmer v. Brennan, 511 U.S. 825, 834 (1994).

To the extent that Plaintiff complains because he was placed
in administrative segregation, he has no claim. §pe Sandin, 515
U.S. at 484-87 (confinement to segregation is not an atypical or
significant hardship giving rise to due process protections);
Schrader v. White, 761 F.2d 975, 980 (4th Cir. 1985)(observing that
not infrequently the same inmates who desire secure surroundings
frequently complain when officials impose conditions reasonably

related to providing that security). See also Hutto v. Finnev, 437

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U.S. 678, 686 (1978)(confinement to punitive isolation does not
implicate cruel and unusual punishment unless conditions themselves
are cruel and unusual); Sheley v. Dugger, 833 F.2d 1420, 1428-29
(11th Cir. l987)("administrative segregation and solitary
confinement do not, in and of themselves, constitute cruel and
unusual punishment," citing Hutto); Gibson v. Lynch, 652 F.2d 348,
352 (3d Cir. l981)(same). Cf. Hoptowit v. Rav, 682 F.2d 1237, 1256
(9th Cir. l982)(classification decisions, in and of themselves, do
not violate Eighth Amendment); Gilland v. Owens, 718 F. Supp. 665,r
686 (W.D. Tenn. 1989)(same, following Hoptowit).

The Eighth Amendment prohibits the intentional infliction of

cruel and unusual punishment on an inmate. Wilson v. Seiter, 501
U.S. 294, 297 (1991). An Eighth Amendment claim consists of both
objective and subjective components. Farmer, 511 U.S. at 834;

Hudson v. McMillian, 503 U.S. 1, 8 (1992); Wilson, 501 U.S. at 298.
The objective component requires that the deprivation be
"sufficiently serious." Farmer, 511 U.S. at 834; Hudson, 503 U.S.
at 8; Wilson, 501 U.S. at 298. The subjective component requires
that the official act with the requisite intent, that is, that he
have a "sufficiently culpable state of mind." Farmer, 511 U.S. at
834; Wilson, 501 U.S. at 297, 302-03. The official's intent must
rise at least to the level of deliberate indifference. Farmer, 511
U.S. at 834; Wilson, 501 U.S. at 303.

An Eighth Amendment claim requires a showing that an inmate
"is incarcerated under conditions posing a substantial risk of

serious harm." Farmer, 511 U.S. at 834; Stewart v. Love, 796 F.2d

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43, 44 (6th Cir. 1982). Within the context of claims that prison
conditions constitute a deprivation sufficiently serious to meet
the objective component of an Eighth Amendment claim, the Court's
inquiry must focus on whether inmates are deprived of the "minimal
civilized measure of life's necessities." Wilson, 501 U.S. at 298
(quoting Rhodes v. Chapman, 452 U.S. 337, 347 (1981)). The
Constitution "'does not mandate comfortable prisons."' Wilson, 501
U.S. at 298 (quoting Rhodes, 452 U.S. at 349). Rather, "routine
discomfort ‘is part of the penalty that criminal offenders pay for
their offenses against society.'" Hudson, 503 U.S. at 9 (quoting
Rhodes, 452 U.S. at 347).

In considering the types of conditions that constitute a
substantial risk of serious harm, the Court considers not only the
seriousness of the potential harm and the likelihood that the harm
will actually occur, but evidence that unwilling exposure to that
risk violates contemporary standards of decency, i.e., that society
does not choose to tolerate this risk in its prisons. §pll;pq_yp
McKinney, 509 U.S. 25, 36 (1993).

To the extent that Plaintiff’s complaint should be construed
as alleging that administrative segregation living conditions as a
whole violate the Eighth Amendment, he has no claim. "Nothing so
amorphous as ‘overall conditions’ can rise to the level of cruel
and unusual punishment when no specific deprivation of a single
human need exists." Wilson, 501 U.S. at 305.

ln certain extreme circumstances the totality itself may

amount to an eighth amendment violation, but there still
must exist a specific condition on which to base an

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eighth amendment claim. We believe such conditions,
'considered alone or in combination [with other
conditions]' must amount to a deprivation of 'life's
necessities' before a violation of the eighth amendment
can be found.

Gilland, 718 F. Supp. at 682 (quoting Walker v. Mintzes, 771 F.2d
920, 932 (6th Cir. l985)(citations omitted)).

Plaintiff alleges that he was placed in a cell with leaky
walls and a leaky toilet, however, he fails to allege that he
suffered any actual physical harm. Under 42 U.S.C. § 1997e(e),
"[n]o Federal civil action may be brought by a prisoner confined in
a jail, prison, or other correctional facility, for mental or
emotional injury suffered while in custody without a prior showing
of physical injury." This claim thus fails for want of an
allegation of the requisite harm.

Accordingly, this complaint fails to state a claim upon which
relief may be granted and is DISMISSED pursuant to 28 U.S.C. §
1915{e)(2)(B)(ii). Plaintiff’s motion for appointment of counsel
is DENIED as moot due to the dismissal of his complaint.

lll. Appeal lssues

The next issue to be addressed is whether Plaintiff should be
allowed to appeal this decision ip fp;ma pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
fp;ma pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438,r 445 (1962). Accordingly, it would be

inconsistent for a district court to determine that a complaint

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which fails to state a claim upon which relief may be granted is of
sufficient merit to support an appeal ip fp;ma pauperis. §pp
Williams v. Kullman, 722 F.2d 1048, 1050, n.l (2nd Cir. 1983). The
same considerations that lead the Court to dismiss this case for
failing to state a claim also compel the conclusion that an appeal
would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter is not taken in good faith, and the
Plaintiff may not proceed on appeal ip fp;ma pauperis.

The final matter to be addressed is the assessment of a filing
fee if Plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not
affect an indigent prisoner Plaintiff's ability to take advantage
of the installment procedures contained in § 1915(b). Mp§p;§_yp
Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). McGore sets
out specific procedures for implementing the PLRA. Therefore, the
Plaintiff is instructed that if he wishes to take advantage of the
installment procedures for paying the appellate filing fee,2 he

must comply with the procedures set out in McGore and § 1915(b).

 

2 The fee for docketing an appeal is $250. See Judicial Conference

Schedule of Fees, L l, Note following 28 U.S,C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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For analysis under 28 U.S.C. § 1915(g) of future filings, if
any, by this Plaintiff, this is the first dismissal in this

district of one of his cases for failure to state a claim.

lT 18 SO ORDERED this (| day of May, 2005

\Q m<'(`;@ll

JON PHIPPS MCCALLA
UN TED STATES DlSTRICT JUDGE

 

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UNTED sTATES DISTRICT COURT - WESRNTE DISCTRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-02777 Was distributed by fax, mail, or direct printing on
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Chalmers Brown

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P.O. 509

l\/lason7 TN 38049

Honorable Jon McCalla
US DISTRICT COURT

